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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


RICKY SOUCY, SR.,                              )
                                               )
      Plaintiff,                               )
                                               )
                    v.                         ) 1:20-cv-00024-JDL
                                               )
MAINE DEPARTMENT OF                            )
CORRECTIONS, ET AL.,                           )
                                               )
                                               )
      Defendant.                               )

      ORDER ACCEPTING THE RECOMMENDED DECISION OF THE
                     MAGISTRATE JUDGE

      Plaintiff Ricky Soucy, Sr., who is proceeding pro se and is currently in state

prison, filed a Motion for Judgment on April 14, 2021 (ECF No. 53). United States

Magistrate Judge John C. Nivison filed his Recommended Decision on the motion

with the Court on August 26, 2021 (ECF No. 71) pursuant to 28 U.S.C.A.

§ 636(b)(1)(B) (West 2021) and Fed. R. Civ. P. 72(b). The time within which to file

objections has expired, and no objections have been filed. The Magistrate Judge

provided notice that a party’s failure to object would waive the right to de novo review

and appeal.

      I have reviewed and considered the Recommended Decision, together with the

entire record, and have made a de novo determination of all matters adjudicated by

the Magistrate Judge. I concur with the recommendations of the Magistrate Judge

for the reasons set forth in his Recommended Decision and determine that no further

proceedings are necessary.


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      It is therefore ORDERED that the Recommended Decision (ECF No. 71) of

the Magistrate Judge is hereby ACCEPTED. Ricky Soucy Sr.’s Motion for Judgment

(ECF No. 53) is DENIED.



      SO ORDERED.

      Dated this 29th day of October, 2021.

                                                 /s/ Jon D. Levy
                                          CHIEF U.S. DISTRICT JUDGE




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